O A O 247 (N C /W 03/08) O rder R egarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT C OURT
                                                                            for the

                                                         Western District of North Carolina

                     United States of America                                  )
                                v.                                             )
                                                                               )   Case No: 3:00CR42-03
                         Jerrold Kenric W oods
                                                                               )   USM No: 16074-058
Date of Previous Judgment: 08/10/2001                                          )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                              )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 120           months is reduced to 96 months                  .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:                                                33
Criminal History Category: I                 Criminal History Category:                                            I
Previous Guideline Range:  168 to 210 months Amended Guideline Range:                                              135       to 168   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COM MENTS




Except as provided above, all provisions of the judgment dated                        08/10/2001          shall remain in effect.
IT IS SO ORDERED .

Order Date:           July 30, 2008


Effective Date:
                       (if different from order date)



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